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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                    WESTERN DIVISION


ERNEST SUTTLES,                                              )
                                                             )
     Plaintiff,                                              )
                                                             )
v.                                                           )        Case No. 2:19-cv-02502-JTF-cgc
                                                             )
UNIVERSITY OF MEMPHIS,                                       )
KENNETH P. ANDERSON, in his                                  )
individual capacity, and DR. DAVID                           )
RUDD, in his individual capacity,                            )
                                                             )
     Defendants.                                             )
                                                             )


       ORDER DENYING DEFENDANTS’ JOINT MOTION TO STAY DISCOVERY


         Before the Court is the above-named Defendants’ Joint Motion to Stay Discovery; the

Motion was filed on December 2, 2019. (ECF No. 31.) 1 Defendants request that, pending the

outcome of their motions to dismiss, the Court stay all discovery and continue the scheduling/status

conference currently set for December 17, 2019. (Id.) The Court finds this request not well-taken

and it is therefore DENIED. The parties shall appear before the Court as previously scheduled,

on December 17, 2019 at 10:00 AM.



         IT IS SO ORDERED this 2nd day of December 2019.


                                                             s/ John T. Fowlkes, Jr.
                                                             JOHN T. FOWLKES, JR.
                                                             UNITED STATES DISTRICT JUDGE

1
 This subsequently filed motion replaces Defendants’ first Motion to Stay (ECF No. 26), which was filed on
November 27, 2019, and is now deemed moot.
